       Case 1:22-cv-00329-BLW Document 45 Filed 08/15/22 Page 1 of 7




ROB BONTA                                   LETITIA JAMES
 Attorney General                            Attorney General
 State of California                         State of New York
RENU R. GEORGE
 Senior Assistant Attorney General          BARBARA D. UNDERWOOD
KARLI EISENBERG                              Solicitor General
 Supervising Deputy Attorney General        ESTER MURDUKHAYEVA
DAVID HOUSKA                                 Deputy Solicitor General
BRENDA AYON VERDUZCO                        LAURA ETLINGER*
HAYLEY PENAN                                 Assistant Solicitor General
 Deputy Attorneys General                     of Counsel
1300 I Street
P.O. Box 944255                             N.Y. State Bar No. 2725190
Sacramento, CA 94244-2550                   The Capitol
(916) 210-7785                              Albany, NY 12224
                                            (518) 776-2028
                                            (518) 915-7723 (fax)
                                            Laura.Etlinger@ag.ny.gov
                                            *Admission pro hac vice pending

UNITED STATES DISTRICT COURT
DISTRICT OF IDAHO

UNITED STATES OF AMERICA,

                   Plaintiff,
                                                     No. 1:22-cv-00329-BLW
                                v.

THE STATE OF IDAHO,

                   Defendant.



     UNOPPOSED MOTION OF THE STATES OF CALIFORNIA, NEW YORK,
    COLORADO, CONNECTICUT, DELAWARE, HAWAII, ILLINOIS, MAINE,
   MARYLAND, MASSACHUSETTS, MICHIGAN, MINNESOTA, NEVADA, NEW
JERSEY, NEW MEXICO, NORTH CAROLINA, OREGON, PENNSYLVANIA, RHODE
 ISLAND, AND WASHINGTON, AND THE DISTRICT OF COLUMBIA FOR LEAVE
TO FILE A BRIEF AS AMICI CURIAE IN SUPPORT OF PLAINTIFF’S MOTION FOR
                      A PRELIMINARY INJUNCTION




                                       1
          Case 1:22-cv-00329-BLW Document 45 Filed 08/15/22 Page 2 of 7




        The States of California, New York, Colorado, Connecticut, Delaware, Hawaii, Illinois,

Maine, Maryland, Massachusetts, Michigan, Minnesota, Nevada, New Jersey, New Mexico, North

Carolina, Oregon, Pennsylvania, Rhode Island, and Washington, and the District of Columbia

respectfully move this Court for leave to file the attached brief as amici curie in support of

plaintiff’s motion for a preliminary injunction against the enforcement of defendant Idaho’s near

total ban on abortion to the extent the ban conflicts with the Emergency Medical Treatment and

Labor Act (EMTALA), 42 U.S.C. § 1395dd. For the reasons described below, Amici’s proposed

brief contains relevant material that may aid the Court in resolving the issues raised by plaintiffs’

motion. Counsel for the parties to this appeal have been consulted regarding this motion. Plaintiff

the United States consents and defendant the State of Idaho takes no position with respect to the

filing of this amicus brief.

        Amici States have a substantial interest in this case. Amici are subject to EMTALA as

health care providers to millions of residents and also serve as regulators of health care. Amici

thus have a strong interest in clear guidance regarding their obligations under EMTALA. In

addition, Amici have a strong interest in protecting the rights of their residents who may need

emergency medical care while present as students, workers, or visitors in Idaho. And some Amici

States, including Oregon and Washington, border Idaho and would experience additional pressures

on their already overwhelmed hospital systems if patients in Idaho are denied necessary emergency

abortion care, forcing them to travel or be transferred to hospitals in nearby States to receive the

emergency care they need.

        The attached brief explains that both the federal government and courts throughout the

country have always interpreted EMTALA to apply to patients experiencing emergency medical

conditions relating to pregnancy and to require the provision of abortion care when needed to



                                                 2
            Case 1:22-cv-00329-BLW Document 45 Filed 08/15/22 Page 3 of 7




stabilize such patients. The brief describes relevant agency interpretations and agency enforcement

actions involving such situations. The brief also reviews numerous court decisions that

demonstrate that EMTALA’s scope has long been understood as encompassing pregnancy-related

emergency medical conditions for which abortion is an appropriate stabilizing treatment. In

addition, Amici provide data and provider information that underscores that hospitals in their

States have long understood that abortion care is part of emergency care.

        As Amici also describe in their brief, their experience as health care providers and

regulators confirms there are many situations in which emergency abortion care is necessary to

avoid serious harmful outcomes, including when a patient presents with an ectopic pregnancy,

preeclampsia, complications from abortion including self-induced abortion, and other medical

conditions for which immediate medical attention is needed. Amici’s experience underscores that

individual patients and the public in general will suffer irreparable harm if patients do not receive

the emergency abortion care they need. Amici’s brief highlights examples of harms that have

occurred when patients did not receive the timely care they needed. And the brief notes the

spillover effect on other States, including Amici States like Oregon and Washington that border

Idaho, if patients in Idaho are forced to travel to receive the emergency abortion care they need.

The information from Amici’s experiences, which is not available in the briefing from either party,

is relevant to weighing the equities and determining whether an injunction serves the public

interest.




                                                 3
           Case 1:22-cv-00329-BLW Document 45 Filed 08/15/22 Page 4 of 7




                                           CONCLUSION

         The Court should grant amici curiae leave to file the attached brief in support of plaintiff’s

preliminary injunction motion.

Dated:        New York, New York
              August 15, 2022

                                                       Respectfully submitted,

 ROB BONTA                                             LETITIA JAMES
  Attorney General                                      Attorney General
  State of California                                   State of New York
 Renu R. George
  Senior Assistant Attorney General                    . /s/ Laura Etlinger*      .
 Karli Eisenberg                                        LAURA ETLINGER
  Supervising Deputy Attorney General
 David Houska                                           Assistant Solicitor General
 Brenda Ayon Verduzco                                  Bar No. 2725190
 Hayley Penan
  Deputy Attorneys General

 California Department of Law                          Barbara D. Underwood
 1300 I Street                                          Solicitor General
 P.O. Box 944255
 Sacramento, CA 94244-2550                             Ester Murdukhayeva
 (916) 210-7785                                         Deputy Solicitor General
                                                       Laura Etlinger
                                                        Assistant Solicitor General
                                                               of Counsel

                                                       Office of the Attorney General
 Counsel listing continues on next page.               The Capitol
                                                       Albany, NY 12224
                                                       (518) 776-2028
                                                       (518) 915-7723 (fax)
                                                       Laura.Etlinger@ag.ny.gov

                                                       *Admission pro hac vice pending




                                                   4
        Case 1:22-cv-00329-BLW Document 45 Filed 08/15/22 Page 5 of 7




PHILIP J. WEISER                         BRIAN E. FROSH
 Attorney General                         Attorney General
 State of Colorado                        State of Maryland
1300 Broadway                            200 Saint Paul Place, 20th Floor
Denver, CO 80203                         Baltimore, MD 21202

WILLIAM TONG                             MAURA HEALEY
 Attorney General                         Attorney General
 State of Connecticut                     Commonwealth of Massachusetts
165 Capitol Avenue                       One Ashburton Place
Hartford, CT 06106                       Boston, MA 02108

KATHLEEN JENNINGS                        DANA NESSEL
 Attorney General                         Attorney General
 State of Delaware                        State of Michigan
820 N. French Street                     P.O. Box 30212
Wilmington, DE 19801                     Lansing, MI 48909

HOLLY T. SHIKADA                         KEITH ELLISON
 Attorney General                         Attorney General
 State of Hawai‘i                         State of Minnesota
425 Queen Street                         102 State Capitol
Honolulu, HI 96813                       75 Rev. Dr. Martin Luther King Jr. Blvd.
                                         St. Paul, MN 55155

KWAME RAOUL                              AARON D. FORD
 Attorney General                         Attorney General
 State of Illinois                        State of Nevada
100 West Randolph Street                 100 North Carson Street
Chicago, IL 60601                        Carson City, NV 89701

AARON M. FREY                            MATTHEW J. PLATKIN
 Attorney General                         Acting Attorney General
 State of Maine                           State of New Jersey
6 State House Station                    Richard J. Hughes Justice Complex
Augusta, ME 04333                        25 Market Street
                                         Trenton, NJ 08625

HECTOR BALDERAS                          PETER F. NERONHA
 Attorney General                         Attorney General
 State of New Mexico                      State of Rhode Island
P.O. Drawer 1508                         150 South Main Street
Santa Fe, NM 87504                       Providence, RI 02903




                                     5
       Case 1:22-cv-00329-BLW Document 45 Filed 08/15/22 Page 6 of 7




ELLEN F. ROSENBLUM                      ROBERT W. FERGUSON
 Attorney General                       Attorney General
 State of Oregon                        State of Washington
1162 Court Street NE                    P.O. Box 40100
Salem, OR 97301                         Olympia, WA 98504

JOSH SHAPIRO                            KARL A. RACINE
 Attorney General                        Attorney General
 Commonwealth of Pennsylvania            District of Columbia
Strawberry Square                       400 6th Street, NW, Suite 8100
Harrisburg, PA 17120                    Washington, D.C. 20001




                                    6
          Case 1:22-cv-00329-BLW Document 45 Filed 08/15/22 Page 7 of 7




                                              Respectfully submitted,

ROB BONTA                                     LETITIA JAMES
 Attorney General                              Attorney General
 State of California                           State of New York
Renu R. George
 Senior Assistant Attorney General            . /s/ Laura Etlinger*      .
Karli Eisenberg                                LAURA ETLINGER
 Supervising Deputy Attorney General
David Houska                                   Assistant Solicitor General
Brenda Ayon Verduzco                          Bar No. 2725190
Hayley Penan
 Deputy Attorneys General

California Department of Law                  Barbara D. Underwood
1300 I Street                                  Solicitor General
P.O. Box 944255
Sacramento, CA 94244-2550                     Ester Murdukhayeva
(916) 210-7785                                 Deputy Solicitor General
                                              Laura Etlinger
                                               Assistant Solicitor General
                                                      of Counsel

                                              Office of the Attorney General
Counsel listing continues on next page.       The Capitol
                                              Albany, NY 12224
                                              (518) 776-2028
                                              (518) 915-7723 (fax)
                                              Laura.Etlinger@ag.ny.gov

                                              *Admission pro hac vice pending




                                          7
